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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 SHARRIF K. FLOYD, individually
 and as assignee of The Andrews
 Institute Ambulatory Surgery Center,
 LLC,

        Plaintiff,

 v.                                            Case No. 3:23cv10244-TKW-ZCB

 TDC SPECIALTY INSURANCE
 COMPANY,

      Defendant.
_________________________________/

                        ORDER GRANTING JUDGMENT
                     ON THE PLEADINGS FOR DEFENDANT

       This case is before the Court based on the parties’ cross-motions for judgment

on the pleadings (Docs. 61, 64). Upon due consideration of the motions, the

responses, and the pleadings, the Court finds that Defendant is entitled to judgment

on the pleadings.

                                    Background

       Plaintiff is a former professional football player who underwent a knee

surgery at The Andrews Institute Ambulatory Surgery Center (Andrews) in

September 2016. Complications from the surgery effectively ended Plaintiff’s

football career.
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       Plaintiff filed a medical malpractice suit against Andrews in state court in

November 2018. The suit settled in 2022 for a confidential amount “in excess of

$27 million.” As part of the settlement, Andrews assigned any claims it had against

its insurers and insurance brokers to Plaintiff.

       Andrews had $27 million of professional liability insurance coverage during

the 2016-17 and 2017-18 policy periods, 1 but the makeup of the coverage was

different for each period:

       • For 2016-17, Andrews had a $2 million primary policy through non-party

           Arch Specialty Insurance Company (Arch) and a $25 million excess policy

           through former defendant Endurance American Specialty Insurance

           Company (Endurance).

       • For 2017-18, Andrews had a $2 million primary policy through Defendant

           TDC Specialty Insurance Company (TDC), a $15 million excess policy

           through Endurance, and an additional $10 million excess policy through

           TDC.

       Plaintiff has received $20 million of the settlement—$17 million in insurance

proceeds ($2 million from Arch and $15 million from Endurance under its 2017-18




       1
          The 2016-17 policy period ran from April 15, 2016, to April 15, 2017, and the 2017-18
policy period ran from April 15, 2017, to April 15, 2018.

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excess policy) and $3 million directly from Andrews. However, the rest of the

settlement “remains due and owing.”

       In January 2023, Plaintiff filed suit in this court against Endurance, TDC, and

two insurance brokers—former defendants USI Insurance Services, LLC (USI) and

Marsh USA, Inc. (Marsh). The operative amended complaint (Doc. 21) sought a

declaratory judgment regarding Endurance’s coverage obligation under its 2016-17

excess policy, a declaratory judgment regarding TDC’s coverage obligation under

its excess policy, and damages from USI and Marsh under various legal theories

(breach of contract, breach of fiduciary duty, negligence) for their failure to secure

the $27 million in coverage that Andrews thought it had for Plaintiff’s claim.

       In June 2023, the Court dismissed the claims against Endurance with

prejudice because Plaintiff could not show that Andrews (or anyone else) provided

timely notice of Plaintiff’s claim to Endurance under its 2016-17 excess policy. See

Doc. 50 at 8-14.2 The Court dismissed the claims against USI and Marsh without

prejudice because those claims are premature until it is determined that Andrews did

not have the $27 million in coverage for Plaintiff’s claims that it thought it had. Id.

at 14-20. Thus, the only remaining claim in this case is Plaintiff’s declaratory

judgment claim regarding TDC’s coverage obligations under its excess policy.



       2
         Judgment was thereafter entered in favor of Endurance under Fed. R. Civ. P. 54(b), see
Doc. 56, and Plaintiff did not appeal the judgment.

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       In September 2023, Plaintiff filed a motion for judgment on the pleadings in

which he argued that there are no material facts in dispute and that he is entitled to

judgment as a matter of law because the pleadings and their attachments show that

his claim is covered by the TDC excess policy. TDC responded with a cross-motion

for judgment on the pleadings in which it agreed that that there are no material facts

in dispute but argued that it (not Plaintiff) is entitled to judgment as a matter of law

because the pleadings and their attachments show that Plaintiff’s claim is not

covered by the TDC excess policy.

       The motions are fully briefed and are ripe for rulings. No hearing is needed

to rule on the motions.3

                                   Standard of Review

       Fed. R. Civ. P. 12(c) provides that “[a]fter the pleadings are closed—but early

enough not to delay trial—a party may move for judgment on the pleadings.”

“Judgment on the pleadings is appropriate when there are no material facts in

dispute, and judgment may be rendered by considering the substance of the

pleadings and any judicially noticed facts.” Hawthorne v. Mac Adjustment, Inc., 140

F.3d 1367, 1370 (11th Cir. 1998). When reviewing a motion for judgment on the

pleadings, the Court must “accept as true all material facts alleged in the non-moving


       3
          The Court did not overlook TDC’s request for oral argument, see Doc. 64 at 19, but the
Court sees no need for it. See N.D. Fla. Loc. R. 7.1(K) (“The Court may—and most often does—
rule on a motion without oral argument, even if a party requests oral argument.”).

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party’s pleading, and … view those facts in the light most favorable to the non-

moving party.” Perez v. Wells Fargo N.A., 774 F.3d 1329, 1335 (11th Cir. 2014).

      Here, the parties agree that there are no material facts in dispute and that the

determination of which party is entitled to judgment on the pleadings turns on the

proper interpretation of the insurance policies attached to the complaint. The proper

interpretation of an insurance policy is an issue of law for the Court.            See

EmbroidMe.com, Inc. v. Travelers Prop. Cas. Co. of Am., 845 F.3d 1099, 1105 (11th

Cir. 2017); Penzer v. Transp. Ins. Co., 29 So. 3d 1000, 1005 (Fla. 2010). Thus, this

case can be resolved with a judgment on the pleadings.

      “The cardinal principle [governing the interpretation of insurance policies

under Florida law] is that a policy’s text is paramount: Florida courts start with the

plain language of the policy, as bargained for by the parties.” Shiloh Christian Ctr.

v. Aspen Specialty Ins. Co., 65 F.4th 623, 627 (11th Cir. 2023) (internal quotations

omitted). “If the policy’s language is unambiguous, it governs—end of story.” Id.

(internal quotations omitted). But, if the policy’s language is ambiguous, “any

ambiguity which remains after reading each policy as a whole and endeavoring to

give every provision its full meaning and operative effect must be liberally construed

in favor of coverage and strictly against the insurer.” Id. at 628 (quoting Gov’t Emps.

Ins. Co. v. Macedo, 228 So. 3d 1111, 1113 (Fla. 2017)).




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                                Applicable Policy Language

       The Insuring Agreement in the TDC excess policy provides in pertinent part

that TDC will pay:

       any loss, damages, judgments, settlements, and defense costs in excess
       of the total limits of liability for all applicable underlying insurance
       which an insured[4] is legally obligated to pay as result of a covered
       claim; provided, that:

       (A) such underlying insurance also applies and has been exhausted
       by actual payment thereunder …”

       (B) this Policy will apply in conformance with, and will follow the
       form of, the terms and conditions of the primary policy (including all
       endorsements thereto), and to the extent coverage is further limited or
       restricted by any other underlying insurance, of such underlying
       insurance, except:

                                           *     *    *

       (3) the coverage provided by this Policy shall not be broader than any
       underlying insurance unless expressly provided in this Policy ….

Doc. 21-5 at 6 (bold in original).

       The policy defines “underlying insurance” to “mean[] the primary policy and

all insurance policies … scheduled in ITEM 4 of the Declarations ….” Id. at 7 (bold

in original). ITEM 4(A) of the Declarations lists the TDC primary policy as one of



       4
           The named insured under the TDC excess policy is Baptist Health Care Corporation
(Baptist), see Doc. 21-5 at 4, but the policy defined the term “insured” to mean “any person or
entity included within the definition of ‘Insured’ (or similar term) in the applicable underlying
insurance,” id. at 5 (bold in original). Andrews is affiliated with Baptist and is the named insured
under the TDC primary policy, see Doc. 21-3, and that policy is “underlying insurance” for the
TDC excess policy, see Doc. 21-5 at 7, so Andrews is an “insured” under the TDC excess policy.

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the primary policies, id. at 12,5 and ITEM 4(B) lists the Endurance 2017-18 excess

policy as underlying insurance, id. at 13.

       The TDC excess policy includes an endorsement (“Endorsement No. 4”),

which states that that “this Policy will apply in conformance with, and will follow

the form of,” the Renewal Agreement Endorsement to the Endurance 2017-18 excess

policy. Id. at 16. The endorsement overrides any conflicting terms and conditions

in the TDC excess policy, see Herrington v. Certain Underwriters at Lloyd’s

London, 342 So. 3d 767, 769 (Fla. 4th DCA 2022) (quoting Allstate Fire & Cas. Ins.

Co. v. Hradecky, 208 So. 3d 184, 187 (Fla. 3d DCA 2016)), but “[a]ll other terms,

conditions and limitations of th[at] Policy shall remain unchanged,” Doc. 21-5 at 16.

       The Renewal Agreement Endorsement to the Endurance 2017-18 excess

policy states in pertinent part that:

       [t]he terms and conditions of the policy effective 4/15/17 will be
       incorporated into the Company’s policy that goes into effect on 4/15/18
       except as modified by the terms of this endorsement. Renewal of the
       insurance does not affect the applicability of Exclusion P. Known
       Losses. To be covered under the policy period effective 4/15/17, a loss,
       claim, or suit must be first made and reported to the Company prior to
       4/15/18.

Doc. 21-4 at 54 (bold in original). Exclusion P in the Endurance 2017-18 excess

policy provides in pertinent part that:


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           Other policies listed under ITEM 4(A) were for other affiliates of Baptist or were for
different types of insurance for Andrews (e.g., general liability, employee benefits liability). None
of those other policies apply to Plaintiff’s claim.

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      This Policy excludes coverage for any medical incident or
      occurrence, claim …:

      (i) that was the subject, in whole or in part, of any notice to any insurer
      prior to the inception date of coverage under this agreement;

      (ii) that was known to any risk management, legal or insurance
      personnel, peer review committee or their designees prior to the
      commencement date of coverage under this agreement that was
      reported or should have been reported to any other insurer prior to the
      commencement date of this Policy.

      If this Policy is a renewal of an agreement previously issued by us, and
      the coverage provided by us to you was continuously and without
      interruption in effect for the entire time between the inception of the
      date of the first such Policy and the inception date of coverage under
      this Policy, the reference in this Policy to the inception date above shall
      be deemed to refer to the inception date of the first policy under which
      we began to provide you with the continuous and uninterrupted
      coverage of which this Policy is a renewal.

Id. at 13-14 (bold in original).

                                      Analysis

      The parties’ cross-motions frame two key issues for resolution: first, whether

TDC is obligated to pay Plaintiff’s claim based on the language of the Insuring

Agreement in its excess policy, and second, whether TDC is obligated to pay

Plaintiff’s claim based on the language of the Renewal Endorsement Agreement to

the Endurance 2017-18 excess policy that is effectively incorporated by reference

into the TDC excess policy through Endorsement No. 4. Each issue will be

discussed in turn.




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                                Insuring Agreement

      The Insuring Agreement in the TDC excess policy obligated TDC to pay up

to $10 million for any settlement in excess of the policy limits of the “applicable

underlying insurance” that Andrews was obligated to pay as a result of a covered

claim, provided that certain conditions in the Insuring Agreement are met. Most

pertinent here, those conditions include paragraph (A), which requires that the

underlying insurance “applies and has been exhausted by actual payment,” and

paragraph (B)(3), which states that the coverage is subject to the terms and

conditions of the primary policy or other more restrictive underlying insurance and

“shall not be broader than any underlying insurance.” Neither condition is met with

respect to Plaintiff’s claim.

      With respect to paragraph (A), the pleadings establish that the “applicable”

underlying insurance was not exhausted by actual payment because even though

Endurance paid the policy limits on its 2017-18 excess policy, TDC did not pay

anything on its primary policy. The Court did not overlook Plaintiff’s argument that

the TDC primary policy did not “apply” so it need not have been exhausted, but the

Court finds that argument unpersuasive because it conflates the issue of whether a

policy “applies” to a claim with the issue of whether the claim is “covered” under

the policy. See Penn. Nat. Mut. Cas. Ins. Co. v. Se. Env’t Infrastructure, LLC, 416

F. App’x 835, 838 (11th Cir. 2011) (recognizing this distinction when stating in a


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slightly different context that “[t]he underlying insurance here (the CGL policy)

clearly applied to the occurrence, but simply provided no coverage because of the

lack of notice”). Here, the pleadings establish that the TDC primary policy “applies”

to Plaintiff’s claim in the sense that it is the type of claim that the policy is intended

to cover (i.e., professional malpractice) and it was reported to TDC during the policy

period. The fact that the claim was subject to exclusions in the policy (and, thus, not

covered) does not mean that the policy did not “apply” to Plaintiff’s claim under the

ordinary meaning of that term.        See, e.g., Webster’s Seventh New Collegiate

Dictionary, at 43 (1965) (defining “apply” to mean “to have relevance”); Merriam-

Webster Online Dictionary, https://www.merriam-webster.com/dictionary/apply

(defining “apply” to mean “to have relevance or a valid connection”);

Dictionary.com, https://www.dictionary.com/browse/apply (defining “apply” to

mean “to be pertinent, suitable, or relevant”).

      With respect to paragraph (B)(3), although that paragraph states that the TDC

excess policy follows the form of all the underlying policies, it also states the

coverage provided by the TDC excess policy is no broader than the terms and

conditions of the most restrictive underlying policy. Thus, as a practical matter, if a

claim is not covered under the terms and conditions of the most restrictive

underlying policy, it is not covered by the TDC excess policy—unless the TDC

excess policy “expressly” provides otherwise. Here, the terms and conditions of the


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TDC primary policy are more restrictive than the terms and conditions of the

Endurance 2017-18 excess policy because the latter provides coverage of Plaintiff’s

claim whereas the former does not, 6 and nothing in the TDC excess policy

“expressly” provides broader coverage than the TDC primary policy.

       On the latter point, the Court did not overlook Plaintiff’s argument that

Endorsement No. 4 provides broader coverage than the TDC primary policy.

However, the Court finds that argument unpersuasive because, as discussed below,

even though Endorsement No. 4 states that the TDC excess policy follows the form

of the Renewal Agreement Endorsement to the Endurance 2017-18 excess policy,

the exception to the Known Losses exclusion referenced in the Renewal

Endorsement Agreement does not provide coverage for Plaintiff’s claim under the

TDC excess policy because that policy is not a “renewal” policy. Thus, at least for

the 2017-18 policy period, the Known Losses exclusion refenced in the Renewal

Agreement Endorsement has the same effect on Plaintiff’s claim as the exclusions

in the TDC primary policy.




       6
          Plaintiff’s claim was covered under the Endurance 2017-18 excess policy because that
policy was a renewal of the Endurance 2016-17 excess policy and the Known Losses provision of
the 2017-18 policy provided coverage for claims (like Plaintiff’s) that were known during the
2016-17 policy period but not reported until the 2017-18 policy period. See Doc. 21-4 at 13-14,
54. By contrast, the TDC primary policy expressly excluded coverage for claims that were
reported during the policy period but were known to the insured before the policy’s inception date
and/or reported to another insurer under a policy in effect prior to inception date of the TDC
primary policy. See Doc. 21-3 at 24-25.

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      Accordingly, Plaintiff’s claim is not covered under the TDC policy because

the conditions in paragraphs (A) and (B)(3) of the Insuring Agreement are not met.

                                Endorsement No. 4

      Endorsement No. 4 to the TDC excess policy effectively incorporates by

reference the Renewal Agreement Endorsement to the Endurance 2017-18 excess

policy. Thus, the question of whether Endorsement No. 4 obligates TDC to provide

coverage for Plaintiff’s claims turns on the proper interpretation of the Renewal

Agreement Endorsement.

      TDC argues that the Renewal Agreement Endorsement simply obligated

Endurance and TDC to renew their excess policies for the 2018-19 policy period and

that it did not impose additional coverage obligations on TDC for the 2017-18 policy

period. The Court agrees.

      The Renewal Agreement Endorsement states in pertinent part that “it is agreed

that the Company will renew, and the Named Insured will accept … this policy as

of 4/15/18 subject to the conditions set forth below. Doc. 21-4 at 54 (bold in

original). The only condition in the endorsement that has any potential relevance to

TDC’s coverage obligation for Plaintiff’s claim is the statement that “[r]enewal of

the insurance does not affect the applicability of Exclusion P. Known Losses.” Id.

      The Court fails to see how the reference to the Known Losses provision in the

Endurance 2017-18 excess policy has any bearing on TDC’s coverage obligation for


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Plaintiff’s claim. The Known Losses provision generally excludes coverage for

known claims predating the inception date of the policy, but it provides an exception

where the policy is “renewal” of a previously issued policy and there has been

continuous, uninterrupted coverage for the period between the inception date of the

previous policy and the inception date of the renewal policy. In those circumstances,

the Known Losses exclusion will not apply to claims that were known during the

previous policy period but not reported until the renewal policy period.

       The effect of that provision on Endurance is that its 2017-18 excess policy

covered claims that were known to Andrews during the 2016-17 policy period but

not reported until the 2017-18 policy period because the 2017-18 policy was

effectively a renewal of the 2016-17 policy.7 That provision does not have a similar

effect on the TDC excess policy because that policy was not a renewal of a policy

that previously issued by TDC8 because the pleadings establish that TDC did not




       7
         The Court did not overlook Plaintiff’s argument that Endurance’s 2017-18 excess policy
was not a “renewal” of its 2016-17 excess policy because the latter provided $25 million in
coverage and the former only provided $15 million in coverage. However, if Endurance’s 2017-
18 policy was not a “renewal” of its 2016-17 policy, then Plaintiff’s claim would not have been
covered by the 2017-18 policy (and Plaintiff should not have recovered $15 million of the
settlement from Endurance) because the exception to the Known Losses exclusion would not have
applied and coverage under the 2017-18 policy would have been excluded under that provision.
       8
          The plain language of the exception to the Known Losses exclusion states that the
exception is only triggered “[i]f this Policy is a renewal of an agreement previously issued by us,”
Doc. 21-4 at 14 (emphasis added), and when that provision is effectively incorporated by reference
into the TDC policy (through Endorsement No. 4 and the Renewal Agreement Endorsement), the
term “us” necessarily means TDC.

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provide excess (or any) coverage to Baptist or Andrews for the 2016-17 policy

period.

       Accordingly, Endorsement No. 4 to the TDC excess policy does provide

coverage for Plaintiff’s claim.

                                          Conclusion

       In sum, for the reasons stated above, the Court finds that TDC is entitled to

judgment on the pleadings because Plaintiff’s claim is not covered under the TDC

excess policy.9 Accordingly, it is ORDERED that:

       1.      Plaintiff’s motion for judgment on the pleadings (Doc. 61) is DENIED.

       2.      Defendant’s cross-motion for judgment on the pleadings (Doc. 64) is

GRANTED.

       3.      The Clerk shall enter judgment, stating: “Judgment on the pleadings is

entered in favor of Defendant TDC Specialty Insurance Company (TDC). Plaintiff

shall take nothing from this action and TDC shall go hence without day.”

       4.      The Clerk shall close the case file.




       9
           This ruling, coupled with the dismissal of Plaintiff’s claim against Endurance, does not
leave Plaintiff without a remedy because he can now pursue his claims against the insurance
brokers—and at least one of those claims appears to have merit. See Doc. 50 at 20 n.8 (noting the
“if the allegations in the amended complaint are true, it appears that USI may have substantial
exposure based on its failure to notify Endurance of a known potential claim [under the $25 million
2016-17 excess policy] at the same time that it notified Arch—particularly now that the claim
against Endurance has been dismissed”).

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 DONE and ORDERED this 27th day of November, 2023.




                              __________________________________
                              T. KENT WETHERELL, II
                              UNITED STATES DISTRICT JUDGE




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